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11   RON BENDER (SBN 143364)
     MONICA Y. KIM (SBN 180139)
22   KRIKOR J. MESHEFEJIAN (SBN 255030)                                  FILED & ENTERED
33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
     10250 Constellation Boulevard, Suite 1700
44   Los Angeles, California 90067                                             DEC 19 2017
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55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com                    CLERK U.S. BANKRUPTCY COURT
     Attorneys for Chapter 11 Debtors and Debtors in Possession           Central District of California
66                                                                        BY Ogier      DEPUTY CLERK

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10
10   Attorneys for Official Committee of Equity Security Holders
11
11
                               UNITED STATES BANKRUPTCY COURT
12
12                              CENTRAL DISTRICT OF CALIFORNIA
                                 SAN FERNANDO VALLEY DIVISION
13
13
     In re:                                              Lead Case No.: 1:17-bk-12408-MB
14
14                                                       Jointly administered with:
     ICPW Liquidation Corporation, a California          1:17-bk-12409-MB
15
15   corporation,1
                                                         Chapter 11 Cases
16
16             Debtor and Debtor in Possession.
                                                         ORDER GRANTING JOINT MOTION
17
17   In re:                                              FOR ORDER GRANTING STANDING
                                                         TO PURSUE CLAIMS FOR THE
18
18   ICPW Liquidation Corporation, a Nevada              BENEFIT   OF   THE   DEBTORS’
     corporation,2                                       ESTATES     AND     APPROVING
19
19
               Debtor and Debtor in Possession.          STIPULATION BETWEEN DEBTORS
20
20                                                       AND     EQUITY     COMMITTEE
         Affects:                                        GRANTING STANDING
21
21
           Both Debtors                                  DATE:     December 12, 2017
22
22                                                       TIME:     1:30 p.m.
         ICPW Liquidation Corporation, a California      PLACE:   Courtroom “303”
23
23   corporation
                                                                  21041 Burbank Blvd.
24
24       ICPW Liquidation Corporation, a Nevada                   Woodland Hills, CA 91367
     corporation.
25
25
26
26
     1
27
27       Formerly known as Ironclad Performance Wear Corporation, a California corporation.
     2
         Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
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28

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11          On December 12, 2017, the Court held a hearing to consider that certain Joint Motion

22   For Order granting Standing To Pursue Claims For The Benefit Of The Debtors’ Estates; And

33   Approving Stipulation Between Debtors And Equity Committee Granting Standing (the

44   “Motion”) [Docket No. 243], filed by ICPW Liquidation Corporation, a California corporation,

55   formerly known as Ironclad Performance Wear Corporation, a California corporation, ICPW

66   Liquidation Corporation, a Nevada corporation, formerly known as Ironclad Performance Wear

77   Corporation, a Nevada corporation (collectively, the “Debtors”), and the Official Committee of

88   Equity Holders (the “Equity Committee”). Appearances were as noted on the Court’s record.

99          The Court, having read and considered the Motion, the Declaration of Geoffrey L.
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10   Greulich annexed to the Motion, and the Stipulation Granting The Official Committee Of Equity
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11   Holders Standing To Pursue Certain Estate Based Claims (the “Stipulation”) [Docket No. 242],
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12   notice of the Motion having been proper, no opposition to the Motion having been filed, with
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13   good cause appearing, orders as follows:
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14          1.      The Motion is granted and the Stipulation is approved.
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15          2.      The Equity Committee is hereby granted leave, standing and exclusive authority
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16   to assert, prosecute and/or settle on behalf of the Debtors’ estates, subject to Court approval as
17
17   necessary, any and all Claims3 and Defenses in the AAA Proceeding, in the Bankruptcy Court
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18   and/or any other forum.
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19          3.      The Equity Committee is hereby granted, and shall have the joint, nonexclusive,
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20   right to assert any and all privileges controlled by Debtors, including the attorney-client privilege,
21
21   on behalf of the Debtors’ estate with respect to all claims and causes of action that the Equity
22
22   Committee has been granted standing and authority to assert, prosecute and/or settle on behalf of
23
23   the Debtors’ estate pursuant to the Stipulation.
24
24          4.      Except as expressly set forth herein, all of the Debtors and the Equity Committee’s
25
25   respective procedural and substantive rights, claims, objections and defenses are hereby expressly
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26
     3
27
27    Capitalized terms not otherwise defined have the same meaning ascribed to such terms in the
     Stipulation.
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11   reserved and preserved.

22           5.      Nothing in the Stipulation or herein shall be deemed to waive, limit, impair or

33   otherwise prejudice the Equity Committee’s rights to seek standing and authority to assert,

44   prosecute and/or settle on behalf of the Debtors’ estate any claims or causes of action of the

55   Debtors’ estate against any persons or entities and such rights are expressly reserved and

66   preserved.

77           6.      The Court shall retain jurisdiction with respect to all matters arising under or related

88   to the Stipulation.

99   IT IS SO ORDERED.
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           Date: December 19, 2017
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